239 F.2d 641
    Sewell THOMAS, George K. Thomas, A. E. Pilkington, Gertrude Vandeveer Breckon, Frank R. Button, E. Roy Chesney, Don F. Anderson, E. J. Campbell, John A. McCusker, Jr., Roy L. Mason, Albert H. Vogler, Phillip H. Paden, Mrs. Elizabeth Root Paden, George W. Calkins, George E. Sanders, Thaddeus C. Naquin, Arthur H. Malnati, Orrin Abbot, Don J. Sebern, Leonard Delue, and John L. Crum, Appellants,v.UNION PACIFIC RAILROAD COMPANY, Appellee.
    No. 5433.
    United States Court of Appeals Tenth Circuit.
    December 24, 1956.
    
      Appeal from the United States District Court for the District of Colorado; Waldo H. Rogers, Judge.
      George K. Thomas, Denver, Colo., for appellants.
      Kenneth F. Burgess, Chicago, Ill. (E. G. Knowles, Denver, Colo., D. Robert Thomas and Martin M. Lucente, Chicago, Ill., on the brief), for appellee.
      Before PHILLIPS, MURRAH and LEWIS, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is an appeal from the District Court of Colorado from an order dismissing the complaint which challenged the leasing of oil and gas minerals by the appellee on lands granted under United States patents.
    
    
      2
      The trial court held that upon issuing the patents, an absolute title without reservation of minerals was granted; that the appellants had failed, therefore, to state a claim upon which relief could be granted; that in any event, the action was a prohibited collateral attack upon a U. S. patent; and that the appellants had failed to join the Secretary of Interior as an indispensable party.
    
    
      3
      The appellants take the position that the minerals were reserved by the United States Government in the original patents; that the subsequent reservation of the minerals by the appellee in deeds to settlers was therefore ineffectual; that the appellee holds the minerals in trust for the public; and that attempted leasing is ultra vires and void.
    
    
      4
      The uncontroverted facts are well stated in the exhaustive and well reasoned opinion of the trial court. See D.C., 139 F.Supp. 588. It is sufficient to say that we fully agree with the trial court and can add nothing to the completeness of its opinion. Judgment is affirmed.
    
    